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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.           SACV 16-01308 JVS (JCGx)                                    Date   June 14, 2017

 Title              Mami Nutraceuticals, LLC v. National Merchant Center, et al.


 Present: The Honorable            James V. Selna
                         Karla J. Tunis                                       Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present
 Proceedings:           (IN CHAMBERS) Order Discharging Order to Show Cause; Setting
                        Case Management Dates; and Vacating Scheduling Conference

      The Court, having reviewed the plaintiff’s Response (filed June 12, 2017 at Docket
No. 101) to the Order to Show Cause issued June 5, 2017 (Docket No. 96) , hereby
DISCHARGES the Order to Show Cause.

       Further, the Court, having reviewed the Presumptive Schedule of Pretrial Dates
(filed June 12, 2017 at Docket No. 99), hereby VACATES the Scheduling Conference set
for June 19, 2017 at 10:00 a.m. and sets the following case management dates with the
agreement of counsel:

                    Court Trial                             June 5, 2018 at 8:30 a.m.
                            File Findings of Fact and Conclusions of law by May 29, 2018
                    Final PreTrial Conference               May 21, 2018 at 11:00 a.m.
                            File PreTrial Documents not later than May 14, 2018
                            File motions in limine not later than April 23, 2018
                    Discovery Cut-off                       March 12, 2018
                    Expert Discovery Cut-off                March 12, 2018
                            Initial disclosure of Experts not later than January 5, 2018
                            Rebuttal disclosure of Experts not later than February 5, 2018
                    Law and Motion Cut-off                  April 16, 2018 at 1:30 p.m.
                             Motions to be filed and served not later than March 19, 2018

       Counsel inform the Court that their selection for a settlement procedure pursuant to
Local Rule 16-15 is private mediation. The Court orders that any settlement discussions
shall be completed not later than December 15, 2017. Counsel shall file a Joint Report of
the parties regarding outcome of settlement discussions, the likelihood of possible further
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 16-01308 JVS (JCGx)                                     Date     June 14, 2017

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discussions and any help the Court may provide with regard to settlement negotiations
not later than seven (7) days after the settlement conference.

cc: ADR Office




                                                                                              :        00

                                                      Initials of Preparer      kjt




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